                                                                                                       Case 2:06-cr-00428-KJM Document 192 Filed 07/18/12 Page 1 of 3
                                                                                            1   Kathryn Kohlman Druliner
                                                                                                5150 Fair Oaks Blvd., 101-152
                                                                                            2   Carmichael, CA 95608
                                                                                                916-612-1285
                                                                                            3
                                                                                                State Bar No: 148913
                                                                                            4   Attorney for Defendant Angela Summerfield

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                                                                                            7
                                                                                                                            IN THE UNITED STATES DISTRICT COURT
                                                                                            8

                                                                                            9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                                                     10
                                                                                     11
                                                                                                The United States,
                                                                                     12                                                                       Case No.:2:06-cr-00428-KJM
                                                                                                               Plaintiff,
                                                                                     13
                                                                                                       vs.                                                    STIPULATION AND [PROPOSED]
                                                                                     14                                                                       ORDER MODIFYING CONDITIONS
                                                                                                Angela Summerfield                                            OF PRETRIAL RELEASE
                                                                                     15
                                                                                                             Defendant(s).
                                                                                     16
                                                                                     17

                                                                                     18                The parties respectfully submit the following stipulation and proposed order modifying the
LAW OFFICES OF KATHRYN KOHLMAN DRULINER




                                                                                     19
                                                                                                pretrial release conditions of defendant Angela SUMMERFIELD. In support of this proposed order,
                                          5150 FAIR OAKS BLVD., #101-152




                                                                                     20
                                                                                                the parties stipulate to the following:
                                              CARMICHAEL, CA 95608

                                                                           (916) 447-1965




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                                                                                     22                In 2006, the Court released the defendant Angela SUMMERFIELD on pretrial release

                                                                                     23         conditions. For the reasons stated below, and the fact that Ms. Summerfield has had no violations of

                                                                                     24         pretrial release conditions in more than six years,1 it is hereby stipulated and is between the parties,
                                                                                     25         that the conditions of pretrial release should be modified as set forth below. This stipulation has been
                                                                                     26
                                                                                                discussed with Pretrial Services Officer Darryl Walker, and he has, in fact, been the one who
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                                                                                                1
                                                                                                       Ms. SUMMERFIELD has no prior criminal history, with the possible exception of the pending case.
                                                                                     29                                                                                                                  PAGE 1
                                                                                                            Case 2:06-cr-00428-KJM Document 192 Filed 07/18/12 Page 2 of 3
                                                                                                 1   recommended the change.
                                                                                                 2
                                                                                                            The parties propose removing the condition that Angela SUMMERFIELD be required to have
                                                                                                 3
                                                                                                     a third-party custodian. Accordingly, it is stipulated that this condition of pretrial release be removed.
                                                                                                 4

                                                                                                 5   All other conditions of pretrial release shall remain in effect.

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                                                                                                 8          Date:           July 16, 2012

                                                                                                 9          Signed:         /s/Kathy Druliner
                                                                                                                            Kathryn Kohlman Druliner
                                                                                                10                          Attorney for Defendant Angela Summerfield

                                                                                                11
                                                                                                            Date:           July 16, 2012
                                                                                                12

                                                                                                13          Signed:         /s/Jason Hitt
                                                                                                                            Jason Hitt
                                                                                                14                          Assistant U.S. Attorney

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                                          5150 FAIR OAKS BLVD, #101-152, SACRAMENTO, CA 95814
LAW OFFICES OF KATHRYN KOHLMAN DRULINER




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                                                             (916) 483-5336




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                                                                                                            Case 2:06-cr-00428-KJM Document 192 Filed 07/18/12 Page 3 of 3
                                                                                                 1                                                     ORDER
                                                                                                 2
                                                                                                            Based upon the stipulation of the parties and the concurrence of the Pretrial Services Officer,
                                                                                                 3

                                                                                                 4   the Court adopts the recommendation of the parties and orders that the previously-imposed condition

                                                                                                 5   that defendant Angela SUMMERFIELD have a third-party custodian is hereby removed. All other

                                                                                                 6   previously-imposed conditions, if any, of pretrial release shall remain in effect.

                                                                                                 7

                                                                                                 8   DATE: July 18, 2012                                    /s/ Gregory G. Hollows
                                                                                                 9                                                         ______________________________

                                                                                                10                                                                 United States Magistrate Judge

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                                          5150 FAIR OAKS BLVD, #101-152, SACRAMENTO, CA 95814
LAW OFFICES OF KATHRYN KOHLMAN DRULINER




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                                                             (916) 483-5336




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